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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiffs,                             4:12CR3114

      vs.
                                                             ORDER
WILLIAM WHITEHOUSE,

                   Defendant.

      Based on the information of record, Defendant has violated the conditions of
Defendant’s supervised release by using methamphetamine. Upon review of
Defendant’s motion, and after considering available options,


      IT IS ORDERED that Defendant’s motion to review detention, (Filing No.
147), is granted as follows:

      1)     Defendant shall comply with the conditions of release ordered at
             sentencing and the following additional conditions:

             a.    When an opening becomes available at Dismas in Kearney,
             Nebraska, the defendant will be placed at that facility under the
             community corrections component of the Bureau of Prisons. If the
             defendant is discharged from that facility for any reason whatsoever,
             or leaves the premises of the facility without authorization, the
             defendant shall immediately report to a law enforcement officer or his
             supervising officer, and the United States Marshal, and/or any law
             enforcement officer is ordered to take the defendant into custody and
             detain the defendant pending a prompt hearing before the court.

             b.    Defendant shall fully participate in outpatient treatment.

      2)     The probation officer assigned to this matter shall assist counsel with
             the preparation of the necessary paper work.
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     3)    This order does not moot the pending petition for an offender under
           supervision.

     Dated this 8th day of June, 2017.

                                              BY THE COURT:

                                              s/ Richard G. Kopf
                                              Senior United States District Judge




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